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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                     CASE NO: 20-21707-CV-MARTINEZ-BECERRA

   RAYMOND JAMES FINANCIAL, INC.,

              Plaintiff,

   vs.

   FEDERAL INSURANCE COMPANY;
   TRAVELERS CASUALTY AND SURETY
   COMPANY OF AMERICA; GREAT
   AMERICAN INSURANCE COMPANY;
   BEAZLEY INSURANCE COMPANY, INC.;
   AND ST. PAUL MERCURY INSURANCE
   COMPANY

              Defendants.




                       DEFENDANTS’ REPLY IN SUPPORT OF
                     THEIR MOTION FOR SUMMARY JUDGMENT
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                                           INTRODUCTION
          Raymond James Financial (“RJF”) devotes virtually its entire brief to accusing its
   customer, Ariel Quiros, of conspiring with Joel Burstein to steal from the Jay Peak Partnerships.
   Insurers’ motion did not attack those allegations because even if true, RJF still cannot prove
   coverage under its financial institution bonds (“Bonds”). Contrary to RJF’s suggestion, these
   issues are not dependent upon a battle of the experts, debates about an “intricate web of transfers”
   or the product of disputed facts. RJF’s immaterial allegations cannot diminish the reality that (1)
   RJF seeks coverage for funds allegedly stolen from another bank; (2) rudimentary arithmetic
   shows that the partnerships suffered no loss at RJF; (3) Burstein never illegally withdrew funds
   from any accounts; and (4) RJF failed to pursue a claim upon learning of Burstein’s alleged
   misconduct. RJF cannot prove a covered loss if the Court applies the undisputed facts to the plain
   terms of the Bonds. It is as straightforward as that.
                                              ARGUMENT
          Before addressing the legal flaws in RJF’s response, Insurers must correct RJF’s inaccurate
   characterization of policy construction. First, the standard rules of construction do not apply
   because RJF seeks coverage under financial institution bonds, not personal lines insurance. The
   Bonds, unlike personal insurance, were jointly drafted by trade groups and are neutrally construed.
   Calcasieu–Marine v. Am. Employers’ Ins., 533 F.2d 290, 295 n. 6 (5th Cir. 1976). Second, a
   disagreement about coverage does not prove ambiguity. No ambiguity exists where, as here, terms
   are have pain, commonly understood meaning. State Farm Fla. Ins. v. Crispin, 290 So.3d 150, 153
   (Fla. App. 2020). Third, RJF wrongly states that “exclusions are fundamentally contrary to”
   insurance. (ECF 160-1, pg. 4). Exclusions stand on equal footing with other terms and are enforced
   as written – even though they limit coverage. Evanston Ins. v. Gaddis, 145 F. Supp. 3d 1140, 1146
   (S.D. Fla. 2015). Application of the correct principles refutes RJF’s claim as a matter of law.
   I.     APPLICATION OF RJF’S OWN TRACING PRECLUDES COVERAGE.
          The Bonds are not liability insurance. Applying Florida law, the Fifth Circuit twice held
   that the Bonds do not cover settlement of a liability, even if due to employee dishonesty, because
   the settlement is an indirect loss outside the scope of coverage. Everhart v. Drake, 627 F.2d 686,
   690-91 (5th Cir. 1980); Am. Empire Ins. v. Fid. & Dep. Co., 408 F.2d 72, 76-77 (5th Cir. 1969).
   Confirming that result, RJF’s own cases found coverage only after the insured proved a theft of
   money in the physical possession of the insured. Avon State Bank v. Bancisure, 787 F.3d 952, 957

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   (8th Cir. 2015) (funds in account at insured bank); Fid. Nat’l Fin. v. Nat. Union Fire Ins. Co., 2014
   WL 4909103, *9 (S.D. Cal. 2014) (funds insured held in escrow); Cedar Lake Homeowners v. Nw.
   Empire Cmty., 2015 WL 9690846, *4 (D. Or. 2015) (escrow funds held by insured).
          RJF’s primary authority does not alter this conclusion. First Defiance v. Progressive Ins.
   Co., 688 F. 3d 265 (6th Cir. 2012), did not find coverage because the insured bore a liability.
   Instead, the court found coverage because the bond therein, unlike RJF’s Bonds,1 covered property
   “owned and held by someone else under circumstances which make the [i]nsured responsible for
   the [p]roperty prior to the occurrence of the loss.” Id. at 268. Applying that provision, the court
   upheld coverage because the stolen property fell within that provision: “If property qualifies as
   ‘covered property,’ and a dishonest employee steals it, the employee ‘directly’ causes the loss….”
   Id. at 270. Accordingly, RJF’s rote allegations of collusion and dishonesty do not create a genuine
   issue of material fact unless and until RJF proves that the Bonds covered the stolen funds.
          Unlike the bond in First Defiance, RJF did not purchase coverage for anything owned by
   the Jay Peak Partnerships or coverage whenever RJF “is responsible for the property.” (ECF 160-
   1, pg. 5). It purchased coverage for “loss of Property (1) owned by the Insured; (2) held by the
   Insured in any capacity; or (3) for which the Insured is legally liable.” (ECF 128, ¶ 11.) The phrase
   “legally liable” does not equate to civil liability. Under binding Fifth Circuit precedent, it
   encompasses property held by as custodian. Globe & Rutgers Fire Ins. v. U.S., 202 F.2d 696, 697
   (5th Cir. 1953). RJF must therefore to prove that it – not a third party – had title to, possession of,
   or custody of partnership funds at the time of the alleged theft. 3M v. Nat’l Union Fire Ins. Co.,
   858 F.3d 561, 567-68 (8th Cir. 2017); Cooper v. Nat’l Union Fire Ins. Co., 876 F.3d 119, 129-130
   (5th Cir. 2017); Lynch v. Potomac Ins., 140 F.3d 622, 627-28 (5th Cir. 1998).
          Despite its specific burden of proof, RJF never documents when Quiros stole from the Jay
   Peak Partnerships. Instead, RJF seeks to create the illusion of an issue by falsely painting the
   dispute as a “battle of the experts” over an “intricate web of transfers.” [ECF 160-1, pg. 7-9).
   However, its sole support is the opinion of a hired economist who, by design, made no attempt to
   identify the amount stolen at RJF. On the contrary, he openly admitted that he computed the total



   1
    RJF did not purchase coverage with this broad language, but instead purchased a standard form
   bond without that provision. Courts distinguish First Defiance when interpreting the language in
   RJF’s Bonds. See RealPage v. Nat’l Union Fire Ins. Co, 2021 WL 718366 at n. 10 (N.D. Tex.
   2021); Tex. Ass’n of Sch. Boards v. Travelers Cas. Ins., 2016 WL 4257748, *7 (W.D. Tex. 2016).
                                                     2
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   loss to the partnerships, regardless of when and where they suffered that loss. (ECF 162-5, pg.
   376:13-377:20). He consciously chose not to compute the amount stolen at RJF because he deemed
   the calculation “useless.” (Id. at pg. 53:4-14). Opinions divorced from the Bonds are “useless” and
   do not create a material question of fact. Winn-Dixie v. Dolgencorp, 746 F. 3d 1008, 1028 (11th
   Cir. 2014) (opinion that contradicts contract is inadmissible); Tonelli v. NCL, 428 F. Supp. 3d
   1313, 1318 (S.D. Fla 2019) (irrelevant expert opinion did not create genuine issue of material fact).
          Resisting RJF’s distractions, the Court should focus on objective facts documented by
   RJF’s own economist. The issue is neither complex nor disputable. RJF’s economist identified
   eight alleged thefts (identified as Transactions A through H and totaling $64.2M). (ECF 162-1, pg.
   3). While disputing coverage for other reasons, Insurers acknowledged that this one transaction
   (identified as Transaction A and totaling $21.9M) involved a partial disbursement from a
   partnership account at RJF. Because RJF possessed the funds in a partnership account when
   allegedly stolen, Insurers did not dispute that Transaction A involved covered property. Insurers
   challenged the remaining transactions (identified as Transactions B through H, and totaling
   $42.3M) because RJF did not possess the partnership funds at the time of their alleged theft.
          Transactions B through H stand in stark contrast to Transaction A. Unlike Transaction A,
   Transactions B through H (totaling $42.3M) did not involve a disbursement of funds from a
   partnership account at RJF. Instead, Quiros removed funds from partnership accounts at People’s
   United Bank (“PUB”). There is no dispute on that point, as RJF admits that (1) funds were
   transferred from “a People’s Bank operating account….” (ECF 161-1, ¶ 51); and (2) Quiros
   fraudulently induced transfers of partnership funds from accounts at PUB to his corporate
   accounts. (ECF 161-1, ¶ 97-8). These concessions refute RJF’s claim because the transfer of
   partnership funds from partnership accounts at PUB to Quiros’ accounts was theft.
          The theft occurred whether Quiros removed the funds from the rightful owner to his
   accounts. The Eleventh Circuit’s decision in O’Halloran v. First Union Nat’l Bank, 350 F.3d 1197
   (11th Cir. 2003), confirms that result. O’Halloran held that a thief’s transfer of funds from a
   partnership account to a corporate account resulted in an immediate loss to the partnership (such
   that the bank in possession of the funds at that time was liable). Id. at 1203-04. Under O’Halloran,
   Quiros stole partnerships funds when he transferred them from partnership accounts at PUB to his
   accounts. That occurred, according to RJF’s economist, while the funds were on deposit at PUB
   and accordingly, that alleged theft is not covered under RJF’s Bonds.

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          RJF insinuates that Quiros then commingled funds stolen from accounts at PUB into
   accounts he controlled at RJF. The fact that RJF received stolen funds and acted as a conduit 2 for
   such funds does not create coverage. RJF must show an insurable interest in the funds (ownership
   or possession) at the time of the theft. For example, 3M held that a prior owner of stolen funds
   could not recover, despite allegations of fraud, because the insured relinquished ownership prior
   to the theft. 858 F.3d at 567; see also Cooper, 876 F.3d at 129-31 (despite prior ownership, insured
   lacked insurable interest because it “gave up possession and control of the funds” before theft). In
   this case, the theft occurred when Quiros took partnership funds by transferring funds from
   partnership accounts at PUB. Because RJF admits that fact, it cannot recover for Transactions B
   through H. Funds held by PUB are insured under PUB’s insurance, not RJF’s insurance.
          That analysis is logical – an insured cannot recoup funds stolen from another bank simply
   because it temporarily possessed the funds before/after the theft. RJF’s argument multiplies a
   single theft into multiple claims by multiple banks. Multiple banks could claim the singular theft
   (resulting in repetitive recovery of the same funds despite a single theft) simply because a thief
   passed stolen funds through multiple banks. That occurred here, as Quiros moved funds between
   accounts at PUB, RJF, Citibank, HSBC and Chase. (ECF 162-1, pg. 41). Under RJF’s analysis,
   each such bank could claim a singular theft. Limiting coverage to the institution in possession of
   the funds at the time of the theft ensures a single recovery of a single loss – by the institution in
   the best position to prevent the loss and one with an insurable interest in the funds.
          Even though this analysis reduces the claimed loss from $64.2M to (at most) $21.9M,
   RJF’s economist paints this analysis “economically meaningless.” This issue reduces RJF’s
   claimed loss by $42.3M and eliminates its claim on the third and fourth excess bonds because
   those bonds only apply to loss in excess of $30M. (ECF 128, ¶ 8). Reduction of the claimed loss
   by 66% and dismissal of claims on two bonds is economically meaningful! More important, it is
   legally meaningful and conclusive. Courts enforce the Bonds as written and grant summary
   judgment where, as here, funds are stolen while on deposit at another bank because the insured did
   not own or hold the funds at the time of the theft. Lynch, 140 F.3d at 627-8; RealPage, 2021 WL
   718366 at *8; Ameritas v. Fed. Ins. Co., 2017 U.S. Dist. LEXIS 7048257, at *5 (D. Neb. 2017);


   2
    At most, RJF acted as a conduit for Quiros’ fraud, but a conduit acquires no interest in such funds.
   In re Chase & Sanborn Corp., 848 F.2d 1196, 1200 (11th Cir. 1988); In re Colombian Coffee Co.,
   Inc., 59 B.R. 643, 645 (Bankr. S.D. Fla. 1986).
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   Posco Daewoo v. Allnex USA, Inc., 2017 WL 4922014, at *6-7 (D. N.J. 2017).
          Recognizing the illogical and legal flaws of its arguments, RJF raises an immaterial factual
   wrinkle. RJF argues that Quiros fraudulently induced transfers from partnership accounts at PUB
   to a “commingled” account at RJF in the name of Jay Construction Management (“JCM”), and
   stole the funds when he transferred funds from JCM to his personal benefit. Quiros, however,
   controlled JCM and its accounts. The transfer to that account was a theft – a fact amply proven by
   Quiros plea agreement and RJF’s admission that Quiros fraudulently induced those transfers. (ECF
   161-1, ¶ 97). Fraudulently induced transfers from the rightful owner to his accounts is theft.
   Because that occurred while the funds were held at PUB, they are not covered by RJF’s insurance.
          However, even if the Court applied RJF’s premise, Insurers are nonetheless entitled to
   partial summary judgment. RJF’s analysis wrongly implies that Quiros disbursed funds from a
   JCM account at RJF. RJF’s own economist debunked that notion. His tracing confirmed that six
   of the eight claimed transactions (totaling $35.3M) either (1) did not involve a disbursement from
   a JCM account; or (2) involved a disbursement from a JCM account at another bank. (ECF 163-6,
   pgs. 19-41). Those transactions, under RJF’s own analysis, are not covered.
          First, RJF did not limit its claim to amounts disbursed by JCM. Per RJF’s economist, RJF
   claimed (1) two transactions (labeled Nos. C and D) where Quiros disbursed funds through his
   personal account (not a JCM account); and (2) one transaction (labeled No. E) where Quiros
   disbursed funds from a corporate account at PUB. (ECF 163-6, pgs. 26-32, 39-41). RJF agrees and
   concedes this fact! (ECF 161-1, ¶ 59, 63). Therefore, even if the Court applied RJF’s immaterial
   distinction, Transactions C, D and E are not covered, and Insurers are entitled to summary
   judgment thereon – reducing the claimed loss by $15.8M!
          Second, RJF ignores when the disbursement from JCM occurred and falsely implies a
   disbursement from a JCM account at RJF. RJF, however, admits that JCM held accounts at
   multiple banks. (ECF 161-1, ¶ 67, 71). Per RJF’s own economist, Quiros used those non-RJF
   accounts to disburse the allegedly stolen funds. For example, Transaction E involved a $6M
   disbursement from Chase; Transaction F involved a $5.5M disbursement from HSBC; and
   Transaction G involved $6.2M in disbursements from JCM accounts at Chase, Merrill Lynch and
   Citibank. (ECF 163-6, pg. 32-9). Therefore, these transactions are not covered under RJF’s own
   analysis and Insurers are entitled to summary judgment thereon (a $17.7M reduction of the claim).
          With one $21.9M exception, RJF cannot prove a theft of funds held in a partnership account

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   because Quiros stole partnership funds while on deposit at PUB. The Bonds do not cover theft of
   funds at PUB. RJF distracts with a legally flawed distinction, but even under that flawed analysis,
   RJF cannot claim Transactions C through H (totaling $35.3M). Accordingly, RJF’s own flawed
   analysis limits the maximum claimable loss to $28.9M (the amount claimed in Transactions A and
   B) and does not trigger the third and fourth excess bonds as they attach to loss in excess of $30M.
   (ECF 128, ¶ 8). Therefore, in either event, Insurers are entitled to partial summary judgment, and
   the claims under the third and fourth excess bonds must be dismissed.
   II.    RJF CONCEDES THE ABSENCE OF NET LOSS OF PARTNERSHIP DEPOSITS
          INTO PARTNERSHIP ACCOUNTS.
          Despite portraying the Bonds as covering the Jay Peak Partnerships from loss, RJF never
   computed whether the partnerships in fact suffered a loss of funds at RJF. RJF’s economist
   admitted he never calculated whether the total deposits into partnership accounts at RJF exceeded
   the total disbursements to partnerships accounts. (ECF 162-5, pg. 376:13-377:20). Insurers did so
   and the computation shows no loss to the partnerships at RJF because RJF’s disbursements to the
   partnerships exceeded the deposits into partnership accounts at RJF. (ECF 130, ₱ 17-41).
          That computation, contrary to RJF’s portrayal, is not complex, but instead is basic math
   based upon bank statements. (ECF 130-2). Accordingly, courts routinely perform rudimentary
   arithmetic to compute the existence of a loss – subtracting the total disbursements from the total
   deposits. Where (as here) such a computation reveals that the total disbursements exceed the total
   deposits, the insured suffered no loss and is entitled to summary judgment. Cooper, 876 F.3d at
   124-25; 3M, 858 F.3d at 567; Horowitz v. Am. Intern. Grp., 2010 WL 3825737, at *7, 24 (S.D.N.Y.
   2010), aff’d, 498 Fed. App’x 51 (2d Cir. 2012). Using basic subtraction, the partnerships suffered
   no loss at RJF because the total disbursements exceeded the partnerships’ deposits.
          Unable to dispute this basic computation, RJF vaguely alleges an intricate fraud, other
   deposits by other entities,3 and an irrelevant settlement.4 Therein lies the fundamental flaw in RJF’s
   claim – it wrongly treats the Bonds as liability coverage. RJF claims a loss of partnership funds,
   but the distributions to the partnerships exceeded deposits in partnership accounts. Accordingly,


   3
     RJF does not dispute Insurers’ math, but instead suggests that Quiros’ deposited stolen funds in
   other accounts. Those deposits do not alter the analysis because as discussed above, they were not
   partnership funds and the Bonds do not cover previously stolen funds merely deposited at RJF.
   4
     The Receiver sought the return of all investments. RJF paid all investors even if they never
   deposited anything at RJF or had funds stolen at RJF. (ECF No. 162-6, pg. 138:13-23).
                                                     6
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   there could be no loss to the partnerships at RJF and no covered loss, under RJF’s own theory.
   FDIC v. United Pac. Ins., 20 F.3d 1070, 1080 (10th Cir. 1994).
   III.   RJF’S ADMISSION THAT BURSTEIN NEVER WITHDREW FUNDS FROM THE
          JAY PEAK PARTNERSHIP ACCOUNTS PRECLUDES COVERAGE.
          RJF concedes a dispositive fact mandating summary judgment – it did not identify any
   instances where Burstein withdrew funds from the Jay Peak Partnership Accounts. While RJF
   attempts to create the illusion of a material dispute by accusing Burstein of dishonesty, dishonesty
   alone does not trigger coverage or raise a triable issue of fact because the Bonds exclude coverage
   for “loss resulting directly or indirectly from transactions in a customer’s account, whether
   authorized or unauthorized, except the unlawful withdrawal and conversion of Money, securities
   or precious metals, directly from a customer’s account by an Employee provided such unlawful
   withdrawal and conversion is covered under Insuring Agreement A….”5 (ECF 128, ₱ 15).
          RJF concedes the factual predicate for this exclusion - the transfer of funds from customer
   accounts. First, it admits that partnerships were “customers.” (ECF 128, ¶¶25, 29, 33, 37, 41, 45
   49, 53). Second, it admits that its alleged loss arises from “transfers to and from Raymond James
   accounts….” (ECF 162-1, pg. 4 ¶15). Its brief accuses Quiros of “… convert[ing] from limited
   partnership accounts at Raymond James.” (ECF 160-1, pg. 2) (emphasis added). The latter triggers
   the exclusion because “transactions” encompasses “an exchange or transfer of goods, services, or
   funds….” www.merriam-webster.com/dictionary/transaction.
          Given these admissions, RJF cannot simply allege dishonesty; it bears the burden of
   proving Burstein engaged in specific conduct – the unlawful withdrawal and conversion … directly
   from a customer’s account by an Employee. East Fla. Hauling v. Lexington Ins. Co., 913 So.2d
   673, 678 (Fla. App. 2005) (“burden once again is placed on the insured to demonstrate the
   exception to the exclusion”). Withdrawal means “removal from a place of deposit or investment.”
   Withdrawal | Definition of Withdrawal by Merriam-Webster. Accordingly, RJF must prove that
   Burstein illegally removed funds in the Jay Peak Partnership accounts. That simply never occurred,
   as RJF admits it could not identify any instances were Burstein ever approved a single transfer (let
   alone a unlawful transfer) from the partnership accounts. (ECF 161-1, ¶ 92-93). Thus, RJF cannot
   satisfy its burden of proof and Insurers therefore are entitled to summary judgment.


   5
    The exclusion does not apply to loss covered under the Fraudulent Transfer Instruction Insuring
   Clause. RJF does not seek coverage thereunder, and therefore it is irrelevant to this case.
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          Unable to prove a covered loss, RJF asks the Court to ignore the plain terms of the Bonds
   because that application of the exclusion would preclude coverage in a totally different
   circumstance and Burstein acted dishonestly. Neither can create a genuine issue of material fact.
          First, RJF argues that the exclusion is limited to “the purchase and sale of securities.” No
   such language appears in the Bonds. This argument makes no sense. By its plain words, the
   exclusion applies to “the unlawful withdrawal and conversion of Money, securities or precious
   metals, directly from a customer’s account by an Employee.” That language never limits itself to
   and nothing to do with “the purchase and sale of securities.” The word “transactions” is a common
   term that broadly encompasses “an exchange or transfer of goods, services, or funds.” U.S. v.
   Takata, 2017 WL 3390594, n. 255 (V.I. Super. 2019) (adopting definition of transaction); Hinkle
   v. Matthews, 337 F. Supp. 3d 674, 683 (S.D. W.V. 2018) (same). Even RJF’s authority rejected
   RJF’s proposed limitation as textually untenable. Rothschild Inv. v. Travelers Cas. & Sur. Co. of
   Am., 2006 WL 1236148, at *7 (N.D. Ill. 2006).
          Second, RJF creates an immaterial hypothetical to distract from the flaws in its claim. It
   argues that the exclusion does not apply because it would preclude coverage if a thief stole funds
   through forgery – a risk covered under a different insuring agreement (Insuring Agreement D).
   RJF predicates this analysis in Rothschild. But, that case involved a forgery claim – not an
   employee dishonesty claim. Id. Rothschild never addressed the application or enforceability of the
   exclusion to an employee dishonesty claim. Direct Gen. Ins. v. Houston Cas., 139 F. Supp. 3d
   1306, 1318 (S.D. Fla. 2015) (hypothetical does not render policy illusory or negate terms)
          Unlike in Rothschild, RJF did not bring a forgery claim. RJF’s inapplicable hypothetical is
   sleight of hand clumsily designed to mislead the Court to ignore the plain terms of the Bonds.
   Florida law forbids that result. A court may not “rewrite contracts, add meaning that is not present,
   or otherwise reach results contrary to the intentions of the parties.” Taurus v. USF&G, 913 So.2d
   528, 532 (Fla. 2005). RJF, a sophisticated insured, purchased the Bonds knowing of exclusion (i)
   and cannot object to its enforcement to unilaterally expanding coverage. The fact that an exclusion
   may preclude coverage for a forgery loss (not at issue here) provides no grounds to invalidate the
   parties’ agreement. Zucker v. U.S. Spec. Ins., 856 F.3d 1343, 1352 (11th Cir. 2017) (excusion
   enforceable even if it excludes “subset of claims that would ordinarily fall within the policy’s
   insuring clause”); Deni v. State Farm Fire Ins., 711 So.2d 1135, 1139 (Fla. 1998) (court may not
   “place limitations upon the plain language of a policy exclusion simply because we may think it

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   should have been written that way”).
          The Bonds provide specific coverage for losses involving customer accounts – instances
   where an employee directly withdraws and converts customer funds. Such loss can occur, as
   illustrated by First Defiance, 688 F.3d at 268. RJF’s argument that the exclusion might
   theoretically preclude forgery coverage is a red herring. RJF did not purchase coverage against all
   forms of theft of customer funds; it purchased coverage where its employee illegally withdrew and
   converted funds from a customer account, a plausible risk that did not occur here.
          Third, RJF tries to sow confusion by accusing Burstein of dishonesty. That argument
   ignores the plain terms of the exclusion. The exclusion applies absent an “unlawful withdrawal
   and conversion of Money, securities or precious metals, directly from a customer’s account by an
   Employee” and only if “such unlawful withdrawal and conversion is covered under Insuring
   Agreement A….” (ECF 128, ¶ 15). The plain language imposes two requirements: first, proof of
   an unlawful withdrawal and conversion by an Employee; and second, proof that such unlawful
   withdrawal and conversion is covered under Insuring Agreement A. It is therefore not enough for
   RJF to allege that it can prove dishonesty covered under Insuring Clause A. It must first prove that
   Burstein unlawfully withdrew and converted directly from a customer account. Because that did
   not occur, RJF’s claim fails even if it otherwise could prove general dishonesty.
          RJF purchased coverage where an employee directly steals funds from a customer account
   by illegally withdrawing and converting customer funds. Because RJF admits that did not occur,
   Exclusion (i) applies and the Insurers are entitled to summary judgment as to RJF’s entire claim.
   IV.    RJF CANNOT AVOID SUMMARY JUDGMENT BY CONTRADICTING ITS
          ALLEGATIONS OF DISHONESTY.
          RJF admits that its Legal Department knew about that very transaction it now characterizes
   as dishonest in March 2014, but RJF nonetheless chose not to provide notice of loss until more
   than two years later – in May 2016. That fact is undisputed, as RJF admits that (1) it claims that
   Burstein dishonestly allowed Quiros to use partnership funds to purchase the resort (ECF 1, ¶ 35;
   ECF 39, ¶36); and (2) its in-house counsel learned that Burstein allowed Quiros to use partnership
   funds to purchase the resort on March 27, 2014. (ECF 161-1, ¶¶ 86-89).
          The Bonds do not allow an insured aware of alleged dishonesty to sit idle and renew
   coverage without disclosing its potential claim. The Bonds apply to a loss first “discovered” during
   the bond period. (ECF 128, ¶¶ 12-13). They define Discovery as occurring when RJF’s Legal
   Department “first becomes aware of facts which would cause a reasonable person to assume that
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   a loss of a type covered by this bond has been or will be incurred….” (Id., ¶14). Once RJF learns
   of such conduct, it then had 60 days to provide notice or forever waive its claim. Pantropic v.
   Fireman’s Fund Ins., 141 F. Supp. 2d 1366, 1369 (S.D. Fla. 2001) (untimely notice precludes
   coverage regardless of prejudice because an insured owes a duty to timely report a claim).
           RJF cannot create a question of fact by contradicting its current allegations and disclaiming
   that it subjectively considered Burstein’s conduct to be dishonest at the time of its initial disclosure.
   The Bonds’ definition of Discovery does not employ a subjective standard; it employs an objective
   standard. As a result, RJF cannot therefore now claim conduct to be dishonest and deny that prior
   knowledge of the same conduct is Discovery. Either such conduct of which RJF was aware is not
   dishonest (in which case RJF is not entitled to coverage) or it is dishonest (and knowledge is
   Discovery and required written notice to the Insurers). Royal Trust Bank v. Nat’l Union Fire Ins.
   Co., 788 F.2d 719, 721 (11th Cir. 1986); Utica Mut. Ins. v. Fireman’s Fund Ins., 748 F.2d 118,
   123 (2d Cir. 1984); USLIFE Savings v. Nat’l Sur., 115 Cal. App. 3d 336, 344–45 (Cal. App. 1981).
           RJF ignores these cases because they demonstrate that knowledge of the conduct RJF
   characterizes as dishonest constitutes Discovery and triggered its obligation to provide notice. That
   RJF did not learn of third-party lawsuits until 2016 is immaterial. Discovery can occur upon either
   receipt of a third-party lawsuit or learning facts that would cause a reasonable person to assume
   that a loss of a type covered by the Bonds. (ECF 128, ¶14). The question is not whether RJF’s legal
   department learned of a lawsuit in 2016, but whether prior to 2016 it learned facts that would cause
   a reasonable person to assume that a loss of a type covered by the Bonds has been or will be
   incurred. Empire Bank v. Fid. & Dep. Co. of Md., 828 F. Supp. 675, 677, 679 (W.D. Mo. 1993),
   aff’d, 27 F.3d 333 (8th Cir. 1994) (knowledge of alleged dishonesty triggered obligation to provide
   notice, even though insured did not receive complaint until later).
           RJF cannot now claim that Burstein’s conduct was dishonest while disclaiming an
   obligation to report its claim in 2014. In light of RJF’s admitted knowledge, its claim is not covered
   because either RJF failed to timely report its claim or Burstein’s conduct was not dishonest. In
   either event, Insurers therefore entitled to summary judgment.
                               CONCLUSION AND RELIEF SOUGHT
           There is no genuine issue of material fact. For the reasons set forth herein and in their
   motion for summary judgment, Insurers ask this Court to grant summary judgment in their favor,
   and any other relief the Court deems appropriate.

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   Dated: September 10, 2021          Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 10, 2021, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record or pro se parties in the manner specified, either via
   transmissions of Notices of Electronic Filing generated by CM/ECF or in some authorized
   manner for those counsel or parties who are not authorized to receive electronically Notices of
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